                 UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                                1:00cr69


UNITED STATES OF AMERICA,                     )
                                              )
                                              )
v.                                            )             ORDER
                                              )
ROBERT EARLE RUTHERFORD,                      )
                                              )
      Defendant.                              )
                                              )
__________________________________            )

      Pending before the Court is the Motion to Produce Records [# 172].

Counsel for the State of North Carolina (the “State”) also moves for leave to file

their Motion to Produce Records by non-electronic means. The Court GRANTS

the State’s Request for Non-Electronic Filing [# 171].

      In its Motion to Produce Records, the State moves the Court to produce all

records contained in the case file for case number 1:00cr69 and to unseal the

Presentence Investigation Report. Most of the documents at issue are publically

available. The State seeks the records contained in this file in connection with the

North Carolina Innocence Inquiry Commission proceedings involving Kenneth

Kagonyera and Robert Wilcoxson, III.

      Upon a review of the record in this case and the State’s motion, the Court

GRANTS the motion [# 172] to the extent it seeks a copy of the public records in



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U.S. v. Rutherford, 1:00cr69-4. The Court DIRECTS the Clerk to make a copy of

the pleadings and case file in 1:00cr69. This copy, however, shall exclude any

sealed materials. The Clerk shall make available this copy for Senior Assistant

District Attorney to pickup at the Clerk’s Office at the United States Courthouse,

100 Otis Street, Asheville, N.C. 28801.           The Court DENIES the motion [#

172] to the extent it seeks a copy of the Presentence Investigation Report for

Defendant Rutherford. “[T]he confidentiality of PSRs has always been jealously

guarded by the drafters of the federal rules, and by the federal courts.” United

States v. Trevino, 89 F.3d 187, 192 (4th Cir. 1996). Where a third party clearly

specifies the information contained in a PSR that the third party expects will reveal

exculpatory evidence, the Court will conduct an in camera examination of the PSR

and make a determination as to whether the disclosure of such information is

necessary. Id. The State has made no such showing and has not set forth any

legal authority supporting its requests for the production of the PSR. Accordingly,

an in camera review of the PSR is not warranted at this time. The Court DENIES

without prejudice the motion to [# 172] to the extent it seeks a copy of the sealed

PSR [# 99].1




       1
       Although the State also requests that the Court unseal the Government’s Motion for
Downward Departure [# 98], it does not appear that this document is currently under seal.


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                               Signed: September 12, 2011




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